 Case 1:24-cr-00177-JMB       ECF No. 1-1, PageID.2      Filed 10/31/24   Page 1 of 16




                          CONTINUATION OF COMPLAINT

   I, TFO Matt S. Warzywak, being duly sworn, hereby depose and state as follows:

                             Introduction and Background

      1.       I am a Task Force Officer with the Drug Enforcement Administration

(“DEA”), a position I have held since September of 2019. I am also a

Detective/Sergeant with the Michigan State Police (MSP) and have been employed

with the MSP since 2004. I am currently assigned to a multi-jurisdictional drug

task force known as the Tri-County Metro Narcotics Team (TCM), which is part of

the First District of the MSP.

      2.       This continuation is submitted for the purpose of obtaining an arrest

warrant for KEVIN DUNSON for possession with intent to distribute 500 grams or

more of a mixture or substance containing a detectable amount of

methamphetamine and cocaine, in violation of 21 U.S.C. §§ 841(a)(1),

841(b)(1)(A)(viii), 841(b)(1)(C) and being a felon in possession of firearms, in

violation of 18 U.S.C. § 922(g)(1).

      3.       This application is intended to show merely that there is sufficient

probable cause for the requested warrant and does not set forth all of my knowledge

about this matter. The information set forth herein is based upon my personal

knowledge derived from my participation in this investigation and upon information

received from other law enforcement officers and credible and reliable sources of

information.




                                            1
 Case 1:24-cr-00177-JMB     ECF No. 1-1, PageID.3     Filed 10/31/24   Page 2 of 16




                                 Probable Cause

      4.     This continuation is based on a Michigan State Police, Tri-County

Metro Narcotics Team (TCM) investigation into the drug trafficking activities of

KEVIN DUNSON.

      5.     In June of 2024, Tri-County Metro Narcotics (TCM) investigators

initiated an investigation into the drug trafficking operations (DTO) of KEVIN

DUNSON. Through interviews, surveillance, administrative subpoenas and trash

pulls, TCM detectives have learned that KEVIN DUNSON employs two “runners”

that are under his direction to deliver narcotics. The runners are members of his

DTO. Investigators know they go by the alias “Lo” and “Chauncey”. TCM

investigators, via comparison to Michigan Driver’s License photographs, have

identified “Lo” as SUBJECT A and “Chauncey” as SUBJECT B.

      6.     On June 1, 2024, TCM was provided information from a source of

information (SOI), regarding a narcotics dealer in the Lansing area. The SOI

described the dealer as a black male that goes by “D” who sells both heroin and

methamphetamine. SOI stated that “D” has someone that works for him named

Chauncey and will deliver narcotics to people. SOI stated that “D” or Chauncey will

drive a black Infinity bearing Michigan registration 96AAG9 to deliver narcotics.

SOI stated that they have also seen “D” in a red vehicle. SOI stated that they have

observed the black Infinity drop off an ounce of methamphetamine to 2817 W

Willow St Lansing, Michigan.

      7.     On June 12, 2024, investigators interviewed confidential source CS #



                                         2
 Case 1:24-cr-00177-JMB           ECF No. 1-1, PageID.4          Filed 10/31/24      Page 3 of 16




1211202681 (CS), who stated they knew of an individual that goes by “D” who sells

narcotics in the area. CS described “D” as a black male who drives a black SUV.

CS stated that “D” has two individuals deliver for him named “Chauncey” and “Lo”.

The CS stated they have seen “D” several times a week deliver and sell narcotics in

the parking lot of Mid-Michigan Recovery Services, 913 Holmes Rd. Lansing,

Michigan.

       8.      Investigators conducted a check of 96AAG9 within Michigan Secretary

of State records in June of 2024 Secretary of State indexes indicated the plate was

associated with a 2013 black Infinity (VIN JN8AZ2NE9D9060617) which was

registered to KEVIN DUNSON.

       9.      Investigators, while on surveillance, had observed this vehicle in the

Greater Lansing, Michigan area. Due to the numerous sightings and the ongoing

investigation, TCM detectives conducted several subsequent checks of the Michigan

Secretary of State’s database in reference to the vehicle. Michigan Secretary of

State records indicated the vehicle was transferred to Tiffany Yvette Hudson at the

residence 18565 Forest Avenue, Eastpoint, Michigan. At that time, the vehicle was

issued a new Michigan registration of 25ACM2.

       10.     On July 16, 2024, TCM detectives conducted surveillance on 925

Westmoreland Avenue, Lansing, Michigan. A red Mazda, matching the description




1 The confidential source is currently working for monetary consideration in 2024. The CS has

proven credible and reliable in the past by providing information that has led to several successful
controlled purchases and provided accurate information that was verified independently. The CS has
a criminal history that includes state arrests for controlled substances in August of 2022, January of
2023 and March of 2023.

                                                  3
    Case 1:24-cr-00177-JMB       ECF No. 1-1, PageID.5         Filed 10/31/24      Page 4 of 16




of an associated vehicle previously provided by the SOI, was observed at the

residence. The Mazda departed the residence and was driven to the ABC Liquor

Store located at 4037 West Saginaw Highway, Lansing, Michigan. Investigators

established surveillance of the vehicle as it left the residence. During surveillance,

investigators observed the driver meet up with another vehicle in the lot for

approximately four minutes. Based on prior training and experience, this is

behavior indicative of a hand-to-hand drug transaction. Investigators maintained

surveillance of the vehicle, as the red Mazda departed the ABC Liquor Store and

drove directly to Prime Storage located at 1530 Lake Lansing Rd. Lansing,

Michigan. Prime Storage is a self-storage facility surrounded by fencing and has

interior and exterior units. The facility provides its customers 24-hour access that

is restricted by keypad/password entry. Investigators observed the Mazda parked

in front of the storage units on the west end of the facility. TCM identified KEVIN

DUNSON as the driver of the Mazda. I know through my training and experience

that narcotics traffickers commonly utilize storage units to store narcotics, money,

and other evidence of narcotics trafficking.

        11.    On July 18, 2024, TCM detectives conducted surveillance on KEVIN

DUNSON. KEVIN DUNSON was observed exiting 925 Westmoreland Ave,

Lansing, Michigan and entering a white Santa Fe bearing Florida registration

26BTSAG.2 DUNSON was observed driving the vehicle from the residence.

Investigators established mobile surveillance of the vehicle as it left the residence


2
 A check of Florida DMV records indicated this vehicle was a commercially rented vehicle. Further
investigation determined the vehicle had been rented by KEVIN DUNSON.

                                                4
 Case 1:24-cr-00177-JMB      ECF No. 1-1, PageID.6     Filed 10/31/24   Page 5 of 16




and surveillance was maintained until it arrived at a residence located at 419 N.

Waverly Rd, Lansing, Michigan. 419 N. Waverly Rd., Lansing, MI is a residence

previously identified by TCM investigators as being frequented by narcotics

users/purchasers. DUNSON parked in the driveway of the residence. A white

female was observed approaching the passenger side of his vehicle. KEVIN

DUNSON was at the residence for approximately three minutes. TCM

investigators didn’t see KEVIN DUNSON exit his vehicle. Immediately following

the meeting, DUNSON departed the residence and drove directly to Rite Aid located

at 3700 West Saginaw Highway, Lansing Michigan (approximately 0.3 miles away).

TCM detectives observed a white male exit KEVIN DUNSON’s vehicle holding

something in his pocket. No occupant other than DUNSON and the white male

were in the vehicle. Based on my training and experience, DUNSON’s travel and

brief meet-ups with various individuals is indicative of narcotics transactions.

      12.     On July 22, 2024, TCM detectives observed additional behavior typical

of narcotics distribution while they conducted surveillance of the residence located

at 925 Westmoreland Avenue, Lansing, Michigan. TCM detectives observed the

aforementioned white Santa FE rented by KEVIN DUNSON being driven from the

residence. TCM detectives did not identify a driver. The vehicle was observed

briefly parking in a restaurant parking lot where a white female entered the front

passenger seat for less than two minutes before exiting and entering into a separate

vehicle. Both vehicles were observed exiting the lot and driving in different

directions.



                                          5
 Case 1:24-cr-00177-JMB      ECF No. 1-1, PageID.7      Filed 10/31/24   Page 6 of 16




      13.    On August 1, 2024, TCM detectives again conducted surveillance of the

residence located at 925 Westmoreland Avenue. A black male matching the

description of SUBJECT A, walked from the residence and entered into the driver

seat of the black Infinity bearing Michigan registration 25ACM2 parked adjacent to

the residence. The Infinity was observed departing the above address and surveilled

to Family Dollar where it briefly parked within the parking lot. Investigators

observed a Jeep enter into the parking lot and park adjacent to the Infinity.

Investigators observed a white female exiting the passenger seat of the Jeep and

briefly entering into the passenger seat of the Infinity. After the female entered into

the Infinity it was driven from the lot followed closely by the Jeep. Investigators

observed both vehicles drive several blocks before stopping on a side street.

Investigators observed the same white female exit the passenger seat of the Infinity

and re-enter the passenger seat of the Jeep she initially exited. Both vehicles left in

different directions immediately following the interaction. Investigators continued

surveillance of the Infinity which was observed driving directly to 419 N. Waverly

Avenue where a white female was observed approaching the passenger side of the

vehicle. The Infinity was at that address for approximately five minutes before

departing. TCM detectives, based on their training and prior experience, identified

this pattern of behavior as indicative of hand-to-hand drug exchanges between a

retail narcotics distributor and retail purchasers/users of narcotics.

      14.    On August 19, 2024, TCM detectives conducted surveillance of the

residence located at 925 Westmoreland Avenue. A black male entered KEVIN



                                           6
    Case 1:24-cr-00177-JMB       ECF No. 1-1, PageID.8          Filed 10/31/24      Page 7 of 16




DUNSON’s’ Santa Fe and departed the residence. Mobile surveillance of the

vehicle was established as it left the residence. The Santa Fe was observed quickly

meeting up with two different vehicles at multiple locations. Each meeting lasted

less than three minutes. Following the meeting of one of the aforementioned

vehicles, a marked police vehicle conducted a traffic stop. During the traffic stop

approximately two ounces of methamphetamine and six bindles of heroin marked

with the letter “Z” or “N” were located in the vehicle and the vehicles occupants

were detained/arrested by Clinton County Sheriff’s Office. I note that similarly

packaged narcotics were subsequently located during the execution of a state search

warrant at 925 Westmoreland Avenue on October 29, 2024 as part of this

investigation. Investigators field-tested the substances using a Tru Narc device.

The substances respectively field-tested positive for methamphetamine and heroin.

Investigators interviewed the passenger and driver of the vehicle. Both individuals

stated they purchased the narcotics from the white SUV and the passenger stated

they purchased the narcotics from SUBJECT B (known to them as “Chauncey”).

        15.    On September 5, 2024, TCM detectives conducted surveillance of the

residence located at 925 Westmoreland Avenue. A silver Ford Edge was observed at

the residence bearing South Carolina registration TZW7473 that, after checking

associated indexes, was identified as registered to a commercial rental company.

Investigators observed DUNSON drive the Edge and depart the residence. Mobile



3 Through further investigation TCM Detectives identified the vehicle as being rented to/by Tiffany
Hudson, an associate of KEVIN DUNSON. Hudson and DUNSON share a common vehicle
registered to a common address in Eastpointe, Michigan.

                                                 7
 Case 1:24-cr-00177-JMB      ECF No. 1-1, PageID.9     Filed 10/31/24   Page 8 of 16




surveillance of the vehicle was established and investigators observed the vehicle

drive to 1813 Pattengill Avenue. TCM investigators identified 1813 Pattengill as a

previous residence of DUNSON. At 1813 Pattengill, investigators observed

DUNSON exiting the vehicle and using a key to unlock the residence and enter it.

He stayed in the residence for less than two minutes, returned to the Ford Edge,

and departed. He then drove the Edge directly to a convenience store and parked

within the lot. Shortly thereafter, investigators observed a white male enter KEVIN

DUNSON’s vehicle for less than a minute. Upon exiting KEVIN DUNSON’s vehicle

the subject entered into the passenger side of another vehicle that was parked

nearby. Both vehicles were observed leaving the area. Based on my training and

experience, these meet-ups were indicative of short-stay narcotics transactions.

      16.    On September 24, 2024, TCM detectives conducted surveillance of the

residence located at 925 Westmoreland Avenue. Investigators observed a grey

Dodge Durango bearing Georgia registrationTFZ0732 that was rented by Tiffany

Hudson, leave the residence. Investigators observed the vehicle park within the

parking lot of a party store. At that time investigators observed KEVIN DUNSON

exit the vehicle and enter the party store. A check of the State of Georgia

registration indexes indicated the vehicle was registered to a rental company.

Investigators are aware, based on training and prior experience, that drug

traffickers commonly utilize rental vehicles rented by third parties and frequently

change vehicles to avoid law enforcement detection.

      17.    On October 15, 2024, TCM detectives surveilled KEVIN DUNSON



                                          8
Case 1:24-cr-00177-JMB       ECF No. 1-1, PageID.10      Filed 10/31/24    Page 9 of 16




while he was at the residence located at 215 S Homer Street, Lansing, Michigan.

KEVIN DUNSON was observed exiting the side door of the residence and entering

into the grey Dodge Durango rental vehicle. Mobile surveillance was established

and maintained as the vehicle was driven from the residence. KEVIN DUNSON

was observed driving the vehicle directly to 925 Westmoreland Avenue. The vehicle

was observed parking in the driveway of the residence. KEVIN DUNSON remained

at the residence for several hours before he was observed exiting 925 Westmoreland

Avenue and returning to the Dodge Durango rental vehicle. Mobile surveillance

was established and maintained as the vehicle was driven from the residence.

Investigators observed the vehicle park in front of 509 West Lenawee Street,

Lansing, Michigan. TCM detectives observed a black male walk up to the vehicle

and make contact with KEVIN DUNSON. The contact lasted for approximately one

minute. KEVIN DUNSON departed immediately after and drove directly to 215 S.

Homer Street in Lansing, Michigan.

      18.    On October 17, 2024, TCM detectives again surveilled KEVIN

DUNSON. DUNSON was located driving the grey Dodge Durango rental vehicle on

Grand River Avenue near Downer Avenue. KEVIN DUNSON was observed

entering Prime Storage located at 1530 Lake Lansing Rd. Lansing, Michigan and

parking on the west side of the facility. KEVIN DUNSON was observed departing

the storage facility after a short period of time and driving directly to 925

Westmoreland Avenue. Investigators observed KEVIN DUNSON arrive at the

residence. Shortly thereafter a black male fitting the description of SUBJECT A



                                           9
Case 1:24-cr-00177-JMB       ECF No. 1-1, PageID.11      Filed 10/31/24   Page 10 of 16




was observed entering the driver’s seat of a silver in color Pacifica bearing Michigan

registration 11912RF. A review of rental records confirmed this vehicle was rented

by DUNSON. Mobile surveillance was established and maintained as SUBJECT A

drove the vehicle from the residence. Investigators watched as SUBJECT A stopped

momentarily at two different residences. Each stop lasted for less than three

minutes. Based on investigators’ training and experience, these quick stops were

indicative of narcotics trafficking.

      19.    Given DUNSON’s contacts at 215 S. Homer Street and 925

Westmoreland Avenue and suspected involvement in narcotics trafficking, TCM

detectives did trash pulls at these locations.

      20.    On August 5, 2024, investigators did a trash pull at 925 Westmoreland

Avenue, Lansing, MI. Following the collection, the contents of the trash were

transported to a secure location to be searched. The search yielded a stack of cut

Michigan Lottery tickets. I know from my training and experience that cut lottery

tickets are commonly used by narcotics dealers to create bindles to package heroin

for retail sale. Investigators also found a vacuum sealed bag with duct tape and

various sizes of plastic bags, all of which may be used to contain and transport

narcotics. Detectives with TCM did a field-test of residue found on the bags, which

yielded a positive result for the presence of cocaine.

      21.    On August 19, 2024, TCM did another trash pull at 925 Westmoreland

Avenue. Following the collection, the contents of the trash was transported to a

secure location to be processed and searched. The subsequent search yielded a stack



                                           10
Case 1:24-cr-00177-JMB      ECF No. 1-1, PageID.12      Filed 10/31/24   Page 11 of 16




of cut Michigan Lottery Tickets, a vacuum sealed bag; and different-sized plastic

bags, missing corners indicating a “tie off,” which is a common way for narcotics

dealers to sell narcotics. Detectives with TCM did a field-test of residue found on

the bags, which yielded a positive result for the presence of cocaine.

      22.    On October 28, 2024, TCM conducted another trash pull from 925

Westmoreland Avenue. Following collection, the contents of the trash were

transported to a secure location to be processed and searched. The search yielded

another stack of cut Michigan Lottery Tickets; different sized plastic bags, some

with missing corners indicating a “tie off”, a common way for narcotics dealers to

sell narcotics; a rental agreement from Enterprise Rent-A-Car listing KEVIN

DUNSON as primary and SUBJECT B as an additional driver for a 2024 Hyundai

Tucson bearing plate EUE6318 VIN 5NMJBCDE2RH325901 for rental term May 6,

2024 to May 24, 2024; and packaging for kilogram quantities of narcotics. Members

of TCM did a field test for residue found on the plastic bags, which yielded a

positive result for the presence of cocaine.

      23.    On October 21, 2024, TCM detectives conducted a trash pull from 215

S. Homer St. Following collection, the contents of the trash were transported to a

secure location to be processed and searched. The search yielded an empty

prescription bottle with Kevin DUNSON’s name and information on the label. In

addition, a handwritten envelope with “KD” written on the front. “KD” are the

initials for KEVIN DUNSON.

      24.    On October 28, 2024, TCM detective conducted a trash pull from 215 S



                                           11
Case 1:24-cr-00177-JMB       ECF No. 1-1, PageID.13       Filed 10/31/24    Page 12 of 16




Homer St. Following collection, the contents of the trash were transported to a

secure location to be processed and searched. The search yielded a rental agreement

from Avis. The rental agreement lists Tiffany Hudson as the renter. The vehicle is a

2024 Dodge Durango bearing Georgia plate TFZ0732. It should be noted that

Affiant and TCM detectives have observed KEVIN DUNSON driving this vehicle on

several occasions and that the vehicle was rented by Tiffany Hudson from 9/21/24 to

10/21/24. TCM detectives also located several identifying items to include: a

statement addressed to KEVIN DUNSON with P.O. Box 70083 Lansing, MI and

instructions for medication prescribed to KEVIN DUNSON.

       25.    In furtherance of the investigation, TCM detectives conducted

surveillance on Prime Storage Facility located at 1530 Lake Lansing Rd. Lansing,

MI 48912 on multiple occasions. KEVIN DUNSON was observed entering the

storage facility on July 16, 2024, October 14, 2024, and October 17, 2024.

       26.    Investigators served an administrative subpoena to Prime Storage and

learned that KEVIN DUNSON accessed unit number 010 during surveillance on

October 14, 2024. Records provided by the storage facility indicated the storage unit

was rented by SUBJECT B. SUBJECT B is believed to be a member of KEVIN

DUNSON’s drug trafficking organization. Records provided by the storage facility

indicated the payment for services were primarily made in cash. A record of

customer access to the unit was also provided. A review of access to the unit

between September 14, 2024 and October 14, 2024 showed that the unit was

accessed on 9/14, 9/15, 09/16, 9/18, 9/20, 9/21, 9/22, 9/23, 9/26, 9/27, 9/28, 9/29, 10/1,



                                            12
Case 1:24-cr-00177-JMB      ECF No. 1-1, PageID.14       Filed 10/31/24    Page 13 of 16




10/3, 10/4, 10/6, 10/7, 10/8, 10/10, 10/12 and twice on 10/14. Investigators believe

that it is common for drug dealers to utilize a storage facility to store narcotics,

money or other items they attempt to conceal from law enforcement. It is also

common for drug dealers to use a different name when obtaining a storage unit to

conceal their identify from law enforcement. It is also uncommon for most citizens

to visit a storage unit this often in a 30-day period.

      27.    Based on its investigation, TCM detectives requested search warrants

for 925 Westmoreland Avenue, 215 S. Homer Street, and rental unit 10 at Prime

Storage located at 1530 Lake Lansing Road. On October 28, 2024, Judge Cynthia

Ward of the 54a District Court in Lansing authorized search warrants for each of

these locations.

      28.    On October 29, 2024, TCM detectives, Drug Enforcement

Administration, and the Lansing Police Department START team executed the

search warrants on the two residences and storage unit. Investigators located

significant amounts of narcotics, U.S. Currency and a firearm at each location.

      29.    On October 29, 2024, investigators were at Prime Storage (1530 Lake

Lansing Rd, Lansing, MI, Unit #010) when they spoke with the General Manager of

Prime Storage who advised that the renter of Unit #010 had also rented Unit #011.

The General Manager stated that the subject who rented Unit #010 also rented

Unit #011 on September 30, 2024 but provided a different name. Where the name

of the renter for Unit #010 was SUBJECT B, the name provided for Unit #011 was

“Gary Wasman.” During the search of 215 S Homer St in Lansing, Michigan,



                                           13
Case 1:24-cr-00177-JMB     ECF No. 1-1, PageID.15     Filed 10/31/24   Page 14 of 16




investigators encountered KEVIN DUNSON within the residence and he was

detained for the duration of the search. Additionally, investigators encountered

Raquel Martinez within the residence who stated that she was on the lease for 215

S Homer Street. In an interview later conducted by TCM detectives with KEVIN

DUNSON, he stated that his residence is at 215 S Homer Street where he has been

for the past two months. Investigators located a fraudulent Michigan’s Driver’s

license utilizing the name “Gary Jason Wasman” with a picture of KEVIN

DUNSON on the driver’s license. Investigators also found storage unit keys. The

keys were later found to operate the locking mechanisms and allow entry to both

Units #010 and #011 at the Prime Storage facility.

      30.    On October 29, 2024, a search warrant was drafted for Prime Storage

1530 Lake Lansing Road Rd Lansing, MI 48912, Unit #011. The search warrant

was authorized by Magistrate Stefani Godsey of the 55th District Court in Mason,

Michigan. The search of Unit 011 yielded approximately 2 kilograms of a substance

that field-tested positive as cocaine HCL; approximately 3 kilograms of a substance

that field-tested positive as methamphetamine; a Glock .45 caliber handgun; a

Draco 7.62 handgun; a large quantity of miscellaneous pills; approximately 1.38

grams of a substance that field tested positive as a fentanyl compound or

methamphetamine; approximately 1.65 grams of a substance that field tested

positive as fentanyl; approximately 7.88 grams of a substance that field tested

positive as heroin with fentanyl compound; $468,340.00 in United States Currency;

KEVIN DUNSON’s Michigan Department of Corrections Discharged Prisoner



                                         14
Case 1:24-cr-00177-JMB     ECF No. 1-1, PageID.16      Filed 10/31/24   Page 15 of 16




identification card; and, KEVIN DUNSON’s Chase/Visa banking card. Notably, no

other forms of identification were found in Unit #011. Furthermore, the key to Unit

011 was found inside 215 S. Homer Street, where law enforcement encountered

DUNSON.

      31.    I have reviewed KEVIN DUNSON’s criminal history and I note that he

has the following prior felony criminal convictions.

             a. 2001 Felony Assault with Dangerous Weapon (two convictions)

             b. 2001 Felony Firearm (two convictions)

             c. 2005 Attempt- Felony Controlled Substance Del/Mfg <50 Grams

             d. 2005 Felony Firearm

             e. 2005 Felony Controlled Substance Possession <25 Grams

             f. 2009 Felony Controlled Substance Del/Mfg <50 Grams

             g. 2010 Felony Controlled Substance Del/Mfg <50 Grams (two

                convictions)

             h. 2015 Felony Weapons – Carrying Concealed

             i. 2015 Felony Weapons-Firearms- Possession by Felon

             j. 2022 Felony Police Officer Assaulting/Resisting/Obstructing

      32.    I have consulted the Bureau of Alcohol, Tobacco, Firearms, and

Explosives. They have preliminarily evaluated the Glock .45 caliber handgun and

Draco 7.62 handgun, and have told me that both weapons were manufactured

outside the State of Michigan.




                                          15
Case 1:24-cr-00177-JMB     ECF No. 1-1, PageID.17     Filed 10/31/24   Page 16 of 16




                                    Conclusion

      33.    Based on the foregoing, I submit there is probable cause to believe that

Kevin DUNSON has committed the offenses of possession with intent to distribute

500 grams or more of a mixture or substance containing a detectable amount of

methamphetamine and cocaine on or about October 29, 2024 and felon in possession

of firearms, on or about October 29, 2024 and respectfully request an arrest

warrant.




                                         16
